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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


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ATTORNEYS OF RECORD:
       NEAL BRICKMAN, ESQ.
       JASON A. STEWART, ESQ.

--------------------------------------------------------------- X   Civil Action No.: 20-cv-2769-VSB
JOHN STANISE,                                                   :
                                                                :   ORDER TO SHOW CAUSE
                           Plaintiff,                           :
                                                                :
         Vs.                                                    :
                                                                :
                                                                :
VICTOR LORIA,                                                   :
                                                                :
                           Defendant.                           :
--------------------------------------------------------------- X


        Upon the Affidavit of Jason a Stewart sworn to the 22nd day May 2020 and the exhibits

annexed thereto, and upon all prior papers and proceedings heretofore had herein, it is

        ORDERED that the above named Defendant show cause before a motion term of this

Court, in Courtroom 518 of the United States District Court, Southern District of New York,

Thurgood Marshall United States Courthouse, 40 Foley Square, New York, NY on

_____________, 2020 at _________AM/PM, or as soon thereafter his counsel may be heard, why

an order should not be issued pursuant to Rule 54(b) and Rule 55(b) of the Federal Rules of Civil

Procedure in favor of plaintiff, John Stanise.
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         ORDERED that service of a copy of this order and annexed affidavit and exhibits upon

the Defendant, Victor Loria at 3625 NW 82 Avenue, Suite 402, Miami, FL 33166 or their council

on or before _______________, 2020 shall be deemed good service thereof.

Dated:



                                           _____________________________
                                           Hon. Vernon S. Broderick




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